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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


    In re:                                                  Chapter 11

    F21 OPCO, LLC,                                          Case No. 25-10469 (MFW)

                    Debtor.

    Tax I.D. No. XX-XXXXXXX


    In re:                                                 Chapter 11

    F21 PUERTO RICO, LLC,                                  Case No. 25-10470 (MFW)

                    Debtor.

    Tax I.D. No. XX-XXXXXXX


    In re:                                                 Chapter 11

    F21 GIFTCO MANAGEMENT, LLC,                            Case No. 25-10471 (MFW)

                    Debtor.

    Tax I.D. No. XX-XXXXXXX                                Ref: Docket No. 3



                            ORDER AUTHORIZING THE JOINT
                     ADMINISTRATION OF RELATED CHAPTER 11 CASES

             Upon the motion (the “Motion”)1 of the Debtors for entry of an order (this “Order”)

authorizing the joint administration of these Chapter 11 Cases for procedural purposes only and

granting related relief, all as more fully set forth in the Motion; and this Court having reviewed the

Motion and the First Day Declaration; and this Court having jurisdiction to consider the Motion




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      Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to such terms in the
      Motion.
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and the relief requested therein in accordance with 28 U.S.C. §§ 157 and 1334 and the Amended

Standing Order of Reference from the United States District Court for the District of Delaware,

dated February 29, 2012; and this Court having found that this is a core proceeding pursuant to 28

U.S.C. § 157(b)(2) and that this Court may enter a final order consistent with Article III of the

United States Constitution; and this Court having found that venue of this proceeding and the

Motion in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and it appearing that

adequate notice of the Motion has been given under the circumstances and that no other or further

notice is necessary; and upon the record herein; and after due deliberation thereon; and this Court

having determined that the relief requested in the Motion is in the best interests of the Debtors,

their estates, their creditors, and other parties in interest, it is hereby

                   ORDERED, ADJUDGED, AND DECREED THAT:

          1.       The Motion is GRANTED as set forth herein.

          2.       The above-captioned Chapter 11 Cases are consolidated for procedural purposes

only and shall be administered jointly under the case of F21 OpCo, LLC, Case No. 25-10469

(MFW), in accordance with the provisions of Bankruptcy Rule 1015 and Local Rule 1015-1.

          3.       All pleadings filed in these Chapter 11 Cases shall bear a consolidated caption in

the following form:


 In re:                                                         Chapter 11

 F21 OPCO, LLC, et al.,1                                        Case No. 25-10469 (MFW)

                    Debtors.


FN1:      The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number,
          are: F21 OpCo, LLC (8773); F21 Puerto Rico, LLC (5906); and F21 GiftCo Management, LLC (6412). The
          Debtors’ address for purposes of service in these Chapter 11 Cases is 110 East 9th Street, Suite A500, Los
          Angeles, CA 90079.




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        4.      The foregoing caption shall satisfy the requirements of section 342(c)(1) of the

Bankruptcy Code.

        5.      The Clerk of the Court shall make a docket entry in each of the Debtors’ Chapter

11 Cases (except that of F21 OpCo, LLC) substantially as follows:

                An order has been entered in this case directing the joint
                administration for procedural purposes only of the chapter 11 cases
                of F21 OpCo, LLC, Case No. 25-10469 (MFW); F21 Puerto Rico,
                LLC, Case No. 25-10470 (MFW); and F21 GiftCo Management,
                LLC, Case No. 25-10471 (MFW). The docket in the chapter 11
                case of F21 OpCo, LLC, Case No. 25-10469 (MFW), should be
                consulted for all matters concerning this case.


        6.      The Clerk of the Court shall maintain a single pleadings docket and file for all of

the Chapter 11 Cases, which shall be the pleadings docket and file for F21 OpCo, LLC,

Case No. 25-10469 (MFW).

        7.      Nothing contained in the Motion or this Order shall be deemed or construed as

directing or otherwise effecting a substantive consolidation of these Chapter 11 Cases.

        8.      This Court shall retain jurisdiction with respect to all matters arising from or related

to the implementation, interpretation, or enforcement of this Order.




Dated: March 18th, 2025                                MARY F. WALRATH
Wilmington, Delaware                                   UNITED STATES BANKRUPTCY JUDGE

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